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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                                No. CR 03- 569 JB

GENE ALAN SUMMERS,

                Defendant.

                             MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court on Defendant Gene Alan Summers’ Rule 29

Motion and Memorandum for Judgment of Acquittal, filed February 26, 2004 (Doc. 198). The

primary issue is whether there was substantial evidence from which the jury could properly find

Summers guilty beyond a reasonable doubt. Because the Court believed during the trial, and

continues to believe, that, based on all of the evidence offered, a reasonable fact finder could conclude

that Summers participated in the bank robbery and conspired to effectuate the agreement to commit

bank robbery, the Court will deny the motion.1

                                          BACKGROUND

        A grand jury indicted Summers on the following counts:

        I.      On or about February 27, 2003, the defendants OMAR MOHAMMED, CURTIS
                DWAYNE FRAZIER AND GENE ALAN SUMMERS, by force, violence and
                intimidation did take money belonging to and in the care, custody, control and
                management, and possession of the Bank of America at 4301 Wyoming Blvd., NE,
                Albuquerque, New Mexico in violation of 18 U.S.C. §2113(a) and 8 U.S.C. §2.

        II.     Between on or about February 23, 2003 until on or about February 27, 2003, the

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        This opinion supplements and is in addition to the Court’s comments on the record at the
May 3, 2004 hearing on this motion.
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               defendants, OMAR MOHAMMED, CURTIS DWAYNE FRAZIER AND GENE
               ALAN SUMMERS, did unlawfully, knowingly and intentionally combine, conspire,
               confederate and agree with other persons whose names are known and unknown to
               the grand jury to commit Bank Robbery in violation of 18 U.S.C. §2113(a).

The indictment’s allegations of overt acts were:

       1.      On or about February 27, 2003, the defendants OMAR MOHAMMED, CURTIS
               DWAYNE FRAZIER AND GENE ALAN SUMMERS, used a stolen Gold Acura,
               NM License Plate No. 463 JFL to rob the Bank of America at 4301 Wyoming Blvd.,
               NE, Albuquerque, New Mexico.

       2.      On or about February 27, 2003, the defendants OMAR MOHAMMED, CURTIS
               DWAYNE FRAZIER AND GENE ALAN SUMMERS, used Marvin Thomas’s
               Apartment No. 2013 at the Pinnacle View Apartments to change clothes, and to count
               and package money.

       3.      On or about February 27, 2003, the defendants OMAR MOHAMMED, CURTIS
               DWAYNE FRAZIER AND GENE ALAN SUMMERS, used the Ford Escape to
               make their getaway.

       In violation of 18 U.S.C. §371.

Court’s Jury Instruction No. 11.

       The Court held a jury trial on the matter from February 18, 2004 through February 20, 2004.

On February 20, 2004, Summers and co-defendant Marvin Thomas orally made a rule 29 motion at

the close of the United States’case. The Court denied that motion. See Clerk’s Minutes at 11, filed

February 18, 2004 (Doc. 201).

                                PROCEDURAL BACKGROUND

       Summers moves the Court, pursuant to rule 29 of the Federal Rules of Criminal Procedure,

to enter a judgment of acquittal, vacating the verdict that the jury returned on February 20, 2004, and

ordering Summers to be released from custody. Summers’motion is a renewal of his oral motion.

Pursuant to rule 29(c)(1), Summers renewed motion is timely.



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                     STANDARDS FOR DECIDING RULE 29 MOTIONS

         The judicial standard for deciding a motion brought pursuant to rule 29 is that the Court

reviews the evidence, both direct and circumstantial, in the light most favorable to the United States,

to determine whether, together with reasonable inferences therefrom, any rational trier of fact could

find the defendant guilty beyond a reasonable doubt. The district court must “view the evidence in

the light most favorable to the government and then determine whether there is substantial evidence

from which a jury might properly find the accused guilty beyond a reasonable doubt.” United States

v. White, 673 F.2d 249, 301-03 (10th Cir. 1982).

         Although this standard of review is deferential, the trial court cannot uphold a conviction

obtained by “piling inference upon inference.” United States v. Hansen, 41 F.3d 580, 582 (10th Cir.

1994)(citing Direct Sales Co. v. United States, 319 U.S. 703, 711 (1943)). As the United States

Court of Appeals for the Tenth Circuit stated in United States v. Jones, 44 F.3d 860 (10th Cir. 1995):

         While a jury may draw reasonable inferences from direct or circumstantial evidence,
         an inference must be more than speculation and conjecture to be reasonable, and
         caution must be taken that the conviction not be obtained “by piling inference upon
         inference” . . . . A jury will not be allowed to engage in a degree of speculation and
         conjecture that renders its finding a guess or mere possibility. Such an inference is
         infirm because it is not based on the evidence.

Id. at 865. Black’s Law Dictionary tells us the rule of inference on inference: “[m]eans that one

presumption or inference may not be based upon another.” Black’s Law Dictionary at 778 (6th ed.

1990).

                                        LEGAL ANALYSIS

         There is evidence in the record that sustains the jury’s verdict. There is evidence that

Summers, together with co-Defendants Omar Mohammed and Curtis Dwayne Frazier, arrived at the



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Pinnacle View Apartments complex, located at 7600 Montgomery, NE, Albuquerque, New Mexico

approximately thirty minutes before the robbery of the Bank of America, which is located at 4301

Wyoming, NW, Albuquerque, New Mexico.2 The evidence is that the three arrived in a two-door

stolen gold Acura, New Mexico license plate 463 JFL, which had been stolen on February 23, 2004,

near Summers’apartment in Southeast Albuquerque. Witness testimony established that Summers,

along with Mohammed and Frazier, entered apartment 2013, Thomas’apartment. The evidence is

that the three brought a black bag with them, and a rational fact-finder could draw an inference that

they met with Thomas and used the apartment to change clothes before the robbery took place.

       After their arrival at the apartment, witness testimony established that all four men, including

Summers, left the apartment within minutes and got into a red Ford Escape, New Mexico license

plate FAA 605, that Thomas rented. Thomas, soon thereafter, returned to the apartment in the Ford

Escape. The testimony also revealed that Thomas left the apartment again a short time later.

       The evidence established that it was at or about this time that the Bank of America was

robbed. At least one witness, George Bosiljevac, identified the getaway vehicle as the same stolen

gold Acura that Summers, Mohammed and Frazier arrived in at the Pinnacle View Apartments thirty

minutes before the robbery. Bosiljevac was able to obtain a partial license plate number of the stolen

Acura and report it to the police. Further, Bosiljevac testified that Mohammed and Frazier got into

the Acura within seconds of the robbery and that the car seemed to be pulling away as the person who

entered the driver’s side of the vehicle got into the car. The license plate number that Bosiljevac


       2
        Mohammed and Frazier entered guilty pleas pursuant to plea agreements in this case. See
Plea Agreement, filed November 21, 2003 (Doc. 106)(Mohammed) and Plea Agreement, filed
November 21, 2003 (Doc. 104)(Frazier). According to the plea agreements, as well as witness
testimony, Mohammed and Frazier were the two individuals who entered and robbed the Bank of
America. Mohammed and Frazier did not, therefore, participate as defendants in the jury trial.

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identified proved to be a partial license plate number of the stolen Acura which was found dumped

and abandoned at the southeast corner of the Pinnacle View Apartments complex. This drop site was

approximately three-tenths of a mile from Thomas’apartment.

       Witness testimony established that, the next time all four men were observed, they were seen

leaving Thomas’apartment and getting into the red Ford Escape. Albuquerque Police Department

witnesses, who were surveilling Thomas’ apartment, testified that, within minutes of the four men

leaving the apartment, a police chase of the Ford Escape ensued through a residential neighborhood.

The police officers ultimately stopped the vehicle and arrested all four men. Before the arrest, the

officers testified that they saw Summers and the other men making furtive gestures consistent with

hiding something within the vehicle. The police found nearly $10,000 within arm’s reach of

Summers. Additionally, the police found a latex glove, which was used in the course of the robbery,

on the vehicle floor beneath Summers’ seat. The jury may consider the intentional flight or

concealment of a defendant immediately after a crime has been committed in the light of all other

evidence in the case in determining guilt or innocence. See United States v. Espinoza, 771 F.2d 1382,

1393-94 (10th Cir. 1985).

       During a subsequent search of Thomas’apartment, the police found keys to the stolen vehicle,

as well as miscellaneous paperwork, notes, cash straps, coin and bill separators, and the clothes that

Mohammed and Frazier wore into the Bank of America during the robbery.

       The evidence at trial established circumstantial facts from which the jury could reasonably

infer that Summers committed the overt acts alleged and, therefore, could be found guilty of the

charges in the indictment. Specifically, based on the evidence in the record, the Court believes that

the jury could infer that Summers used the safe house (Thomas’apartment) to plan the robbery, and


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used the house later to help conceal evidence and to divide and to conceal the stolen money in bank

bags, which they later carried out, put in the Escape, and drove away. Further, the Court believes

that the jury could infer that Summers drove the getaway vehicle from the bank following the

robbery.

       The Court does not believe that any inferences that the jury may have made in this case

constituted inferences upon inferences as proscribed by the Tenth Circuit. For example, Summers

argues that the jury, to find that Summers drove the getaway vehicle, would have to first infer that

there was a third person (other than Mohammed and Frazier) driving the vehicle and then, based on

that inference, infer that Summers was the third person/driver. The Court believes that Bosiljevac’s

testimony provided circumstantial existence of a third person driving the car, from which the jury

could infer that Summers was that person.

       The Court, having reviewed the evidence at trial and considered the arguments of the parties

at the hearing on this motion, believes that there is sufficient evidence in the record to support the

jury’s guilty verdict and will, therefore, deny the motion.

       IT IS ORDERED that the Defendant Gene Alan Summers’ Rule 29 Motion and

Memorandum for Judgment of Acquittal is denied.


                                               __________________________________________
                                               UNITED STATES DISTRICT JUDGE




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